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1                                       UNITED STATES DISTRICT COURT

2                                           DISTRICT OF NEVADA

3                                                     ***

4

5
      UNITED STATES OF AMERICA,
6
                           Plaintiff,
7                                                        2:16-cr-00230-GMN-CWH
      vs.                                                ORDER
8     DONTE MCFRAZIER,
9                          Defendants.

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12          Before the Court is the Motion to Approve Mr. McFrazier’s Request for Permission to Travel (ECF
13   No. 104).
14          Accordingly,
15          IT IS HEREBY ORDERED that any opposition to the Motion to Approve Mr. McFrazier’s
16   Request for Permission to Travel (ECF No. 104) must be filed on or before April 10, 2017.
17          DATED this 30th day of March, 2017.
18
                                                               _________________________
19
                                                               CAM FERENBACH
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                                                               UNITED STATES MAGISTRATE JUDGE

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